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                              UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                    OXFORD DIVISION

    KELLI DENISE GOODE, Individually,                                                PLAINTIFF
    and also as the Personal Representative
    of Troy Charlton Goode, Deceased, and
    as Mother, Natural Guardian, and Next
    Friend of R.G., a Minor, and also on
    behalf of all similarly situated persons

    V.                                                                 NO. 3:17-CV-60-DMB-RP

    THE CITY OF SOUTHAVEN, et al.                                                DEFENDANTS


                                                      ORDER

            Before the Court in this civil rights and medical malpractice action are numerous

dispositive and related motions filed by the parties.

                                                      I
                                         Relevant Procedural History

            On January 13, 2016, Kelli Denise Goode—individually, and in her capacity as the

personal representative of her deceased husband, as next friend of her minor son, and on behalf of

“all similarly situated persons”—filed a complaint in the United States District Court for the

Western District of Tennessee “seek[ing] damages and injunctive relief based upon the untimely

death of [her husband] Troy Charlton Goode ….” Doc. #1 at 1–2. On August 15, 2016, Kelli,1 in

the same capacities as that in her original complaint, filed an amended complaint, naming as

defendants the City of Southaven, Todd Baggett, Jeremy Bond, Tyler Price, Joel Rich, Jason

Scallorn, Stacie J. Graham, Mike Mueller, William Painter, Jr., Bruce K. Sebring, Joseph Spence,

Richard A. Weatherford (collectively, “Southaven Defendants”); John Does 1-10; Baptist



1
    To avoid confusion, the Goodes’ first names are used.
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Memorial Hospital-Desoto (“BMH-D”); Southeastern Emergency Physicians, Inc.;2 and Lemuel

D. Oliver, M.D. Doc. #107. In her amended complaint, Kelli asserts numerous state and federal

claims against the defendants regarding Troy’s death.

        On March 31, 2017, this action was transferred from the Western District of Tennessee to

this Court. Doc. #246. After an extensive period of discovery, the following dispositive motions

were filed: (1) Oliver’s motion for summary judgment and for judgment on the pleadings, Doc.

#397; (2) Kelli’s motion for partial summary judgment, Doc. #410; (3) the Southaven Defendants’

motion for summary judgment, Doc. #422; and (4) BMH-D’s motion for summary judgment, Doc.

#424. In addition to the summary judgment motions, BMH-D filed a joint motion on behalf of all

defendants to dismiss or, in the alternative, for other sanctions, based on Kelli’s shifting,

inconsistent, and contradicting accounts of relevant facts during discovery. Doc. #417.

        In support of her various summary judgment briefs, Kelli filed as exhibits separate

statements of facts. See Docs. #410-1, #437-1, #439-1. BMH-D moved to strike, and Oliver

moved for leave to file a motion to strike, Kelli’s statements of facts. Doc. #471; Doc. #484.

BMH-D has since filed a notice withdrawing its motion to strike. Doc. #482.

        On September 11, 2018, the Court denied the joint motion to dismiss or, in the alternative,

for sanctions without prejudice and ordered the parties to file a renewed motion addressing whether

the Court’s inherent authority and/or the authority of Rule 37 should be applied to the issues raised,

and then analyzing such issues accordingly. Doc. #586 at 7. A week later, the defendants filed a

renewed motion which complied with the Court’s September 11, 2018, order. Doc. #587. A week

after that, Kelli responded in opposition. Doc. #589.



2
 Southeastern Emergency Physicians, LLC (previously identified as Southeastern Emergency Physicians, Inc.) was
dismissed with prejudice by stipulation on May 9, 2018. See Doc. #496.
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                                                          II
                                                        Analysis

           For reasons to be specified in a separate memorandum opinion, the Court finds that Kelli

has engaged in bad faith conduct during this litigation, as described in the defendants’ joint motion,

which warrants sanctions under this Court’s inherent authority. See In re Moore, 739 F.3d 724,

729 (5th Cir. 2014) (“A decision to invoke the inherent power to sanction requires a finding of bad

faith or willful abuse of the judicial process ….”) (quotation marks omitted).

           However, the Court also concludes that Kelli’s conduct does not rise to the level warranting

the sanction of dismissal of her claims or the imposition of any of the specific alternative sanctions

requested by the defendants in their renewed motion for sanctions.3 See Gonzalez v. Trinity Marine

Grp., Inc., 117 F.3d 894, 898 (5th Cir. 1997) (in exercising inherent power to sanction “the district

court is bound to impose the least severe sanction available”). Rather, the Court has determined

that an appropriate sanction to impose, in response to the defendants’ request for “any further

sanctions deemed warranted by this Court,” Doc. #587 at 3, is to deem certain facts admitted

against Kelli, with such facts to be specifically determined following specific briefing on the issue,

which briefing may include any additional alternative sanction not yet rejected by the Court.

Because the facts to be admitted—along with the rulings to be issued on the pending evidentiary

motions—will necessarily affect the pending motions for summary judgment, the pending

summary judgment motions must be denied without prejudice. Because the pending summary


3
    The defendants seek as alternative sanctions:
           (1) a jury instruction informing the jury of Mrs. Goode’s dishonesty and charging the jury that false
           testimony under oath should be seriously considered in evaluating her credibility; (2) a jury
           instruction informing the jury of Mrs. Goode’s failure to identify and produce relevant evidence and
           instructing the jury that it may make a negative inference based upon that failure; (3) a finding of
           fraud entered into evidence at the trial of this matter; and (4) any further sanctions deemed warranted
           by this Court.
Doc. #587 at 3.
                                                             3
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judgment motions will be denied without prejudice, Oliver’s motion for leave to file a motion to

strike Kelli’s separate statements of fact will be denied as moot.4

                                                        III
                                                     Conclusion

         For the reasons above:

         1.       The defendants’ renewed motion for sanctions [587] is DENIED in Part and

                  DEFERRED in Part. The motion is DENIED to the extent it seeks dispositive

                  sanctions and the specific alternative sanctions requested by the defendants. The

                  motion is DEFERRED to the extent the Court finds the admission of certain facts

                  against Kelli warranted. The defendants have seven (7) days from the entry of this

                  order to file a supplement to their renewed motion for sanctions addressing which

                  facts they urge should be deemed admitted, along with any additional alternative

                  sanction not yet rejected by the Court. Any response to the defendants’ supplement

                  must be filed within seven (7) days of the supplement’s filing.

         2.       The parties’ pending motions for summary judgment [397][410][422][424] are

                  DENIED without prejudice. The parties will be permitted to renew their motions

                  for summary judgment5 after the Court’s issuance of its forthcoming memorandum

                  opinion.

         3.       Oliver’s motion for leave [484] is DENIED as moot.


4
  The Court’s Local Uniform Civil Rules do not authorize the filing of a separate statement of undisputed facts in
support of a summary judgment motion. See L.U. Civ. R. 7(b).
5
  Any resubmitted motion for summary judgment must comply with the Court’s Local Civil Rules in all respects,
including but not limited to, fact sections which cite to the record and are not filed separately as exhibits. Exhibits
also should not be attached to a memorandum brief (or any submission which is in form or substance a memorandum
brief). Many of the parties’ submissions in this case have failed to comply with the Local Rules. Filings that fail to
comply with the Court’s procedural rules generally are stricken and/or not considered by the Court. The Court reminds
the parties that “[a]ttorneys practicing before the district courts of Mississippi are charged with the responsibility of
knowing the LOCAL RULES … and may be sanctioned for failing to comply with them.” L.U. Civ. R., Preamble.
                                                           4
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   4.    The Clerk of the Court is DIRECTED to terminate BMH-D’s withdrawn motion

         to strike [471].

   SO ORDERED, this 27th day of September, 2018.

                                          /s/Debra M. Brown
                                          UNITED STATES DISTRICT JUDGE




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